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                     IN THE UNITED STATES DISTRI~T couifi___ , ; - ------!
                          NORTHERN DISTRICT OF TEfAS   I MAR 2 9 2018 I
                              FORT WORTH DIVISION•                                                      1
                                                           CLERK, U.S. DISTRICT COURT
STANDARD INSURANCE COMPANY,             §
                                                          By
                                        §
                                                                                           Deputy
              Plaintiff,                §
                                        §
VS.                                     §     NO. 4:17-CV-994-A
                                        §
PHILLIP A. BOWLAND,                     §
                                        §
              Defendant.                §


                                      ORDER

        On March 28, 2018, plaintiff, Standard Insurance Company,

filed a request for clerk's entry of default against defendant,

Phillip A. Bowland.        The court has determined that such request

should be granted.

        Therefore,

        The court ORDERS that plaintiff's request for entry of

default against defendant be, and is hereby, granted, and the

Clerk is hereby directed to enter default against defendant.

        SIGNED March 29, 2018.




                                                                          ict Judge
